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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 __________________________________
                                    §
 ROTHSCHILD BROADCAST               §
 DISTRIBUTION SYSTEMS, LLC ,        §
                                    §
      Plaintiff,                    §                   Case No: 1:18-cv-00187-RGA
                                    §
  vs.                               §
                                    §
  FRONTPOINT SECURITY               §
  SOLUTIONS, LLC,                   §
                                    §
              Defendant.            §
____________________________________§

                         JOINT STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

the Court and pursuant to an agreement between the parties, that Rothschild Broadcast

Distribution Systems, LLC’s claims and Frontpoint Security Solutions, LLC’s non-infringement

counterclaim in the above-captioned action be, and upon approval are, dismissed WITH

PREJUDICE and Frontpoint Security Solutions, LLC’s invalidity counterclaim be, and upon

approval is, dismissed WITHOUT PREJUDICE. Each party shall bear its own costs, expenses

and attorney fees.
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September 27, 2018                   STAMOULIS & WEINBLATT LLC

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      SO ORDERED:



                                   ____________________________________
                                   Judge - United States District Court




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